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 4   Telephone: (916) 554-2744
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 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,        )       Case. No. CR-S-07-0348 FCD
                                      )
14                     Plaintiff,     )
                                      )       STIPULATION AND ORDER
15                                    )
          v.                          )
16                                    )
     DARRON REED and                  )       Date: September 22, 2008
17   DERRICK CHASE,                   )       Time: 10:00 a.m.
                                      )       Hon. Frank C. Damrell, Jr.
18                     Defendants.    )
                                      )
19                                    )
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21
          It is hereby stipulated by and between the United States of
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     America through Philip Ferrari, Assistant United States Attorney,
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     and defendants Darron Reed and Derrick Chase, by and through their
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     respective counsel, Daniel Broderick, Esq. and Patrick McCarthy,
25
     Esq., that the appearance currently set for September 15, 2008, be
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     vacated and continued to September 22, 2008, at 10:00 a.m.
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          The continuance is being requested because the parties need
28
     more time to seek resolution of the case.


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 1        Speedy trial time is to be excluded from the date of this order
 2   through the date of the hearing set for September 22, 2008 pursuant
 3   to 18 U.S.C.   3161(h)(8)(B)(iv) [reasonable time to prepare] (Local
 4   Code T4).
 5   DATED: September 11, 2008                 /s/ Philip A. Ferrari for
                                              DANIEL BRODERICK, ESQ.
 6                                            Attorney for Defendant Reed
 7
     DATED: September 11, 2008                 /s/ Philip A. Ferrari for
 8                                            PATRICK McCARTHY, ESQ.
                                              Attorney for Defendant Chase
 9
10
     DATED: September 11, 2008                McGREGOR W. SCOTT
11                                            United States Attorney
12
                                       By:     /s/ Philip A. Ferrari
13                                            PHILIP A. FERRARI
                                              Assistant U.S. Attorney
14
15
16        IT IS SO ORDERED.
17
18   DATED: September 12, 2008            _______________________________________
                                          FRANK C. DAMRELL, JR.
19                                        UNITED STATES DISTRICT JUDGE
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